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                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

  BANK OF AMERICA, N.A.                       )
                                              )
                         Appellant,           )
  v.                                          )
                                              )       JUDGMENT
  RODNEY ALLEN MCCOWAN and                    )
  TRUSTEE GREGORY CRAMPTON                    )       No. 5:18-CV-75-D
                                              )
                         Appellees.           )

  Decision by Court.

  This action came before the Honorable James C. Dever III, Chief United States District Judge, for
  ruling as follows:

  IT IS ORDERED, ADJUDGED, AND DECREED that the court REVERSES the bankruptcy
  court's orders.




  This Judgment Filed and Entered on October 9, 2018, and Copies To:
  Jason K. Purser                             (via CM/ECF electronic notification)
  William Forrest Braziel, III                (via CM/ECF electronic notification)
  William P. Janvier                          (via CM/ECF electronic notification)
  Gregory Byrd Crampton                       (via CM/ECF electronic notification)
  Steven Craig Newton, II                     (via CM/ECF electronic notification)



  DATE                                        PETER A. MOORE, JR., CLERK
  October 9, 2018                             By:     /s/ Nicole Sellers
                                              Deputy Clerk




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